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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

PFIZER INC..,
Plaintiff, Civil Action No. 2:17-cv-04180-JCJ
Vv.

JOHNSON & JOHNSON and JANSSEN
BIOTECH, INC.,

Defendants.

 

IN RE: REMICADE ANTITRUST Civil Action No. 2:17-cv-4326-JCJ
LITIGATION

 

 

PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE
DOCUMENTS CONCERNING PAYER CONTRACTS FOR REMICADE

Plaintiffs in the above-captioned cases (‘‘Plaintiffs”) hereby move the Court to compel
Defendants Johnson & Johnson and Janssen Biotech, Inc. (“J&J’) to produce documents
concerning J&J’s contracts with certain specified third-party payers relating to J&J’s product,
Remicade. Such documents are relevant because, as alleged in Plaintiffs’ complaints, J&J
intended to and did enter contracts with third-party payers to preserve its monopoly in Remicade
by blocking competition from biosimilars to Remicade. The documents are proportional to the
needs of the case considering the significant public importance of the issues at stake, the large
amount in controversy, J&J’s exclusive access to relevant information, J&J’s substantial
resources, the criticality of the discovery in resolving the issues, and the limited burden of the
proposed discovery in comparison to its likely benefit. The facts and law in support of the motion
are more fully set forth in the accompanying Memorandum.

WHEREFORE, Plaintiffs respectfully request that the Court enter the proposed Order

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granting Plaintiffs’ Motion to Compel Defendants to Produce Documents Concerning Payer

Contracts for Remicade.

Date: November 4, 2019

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Respectfully submitted,

/s/ bye —

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CERTIFICATE OF SERVICE
I, David H. Suggs, hereby certify that on November 4, 2019, I caused true and
correct copies of Plaintiffs’ Motion to Compel Defendants to Produce Documents Concerning
Payer Contracts for Remicade, and I served by electronic mail upon the following counsel for the

Defendants:

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